Case 8:18-cv-02915-WFJ-JSS Document 53 Filed 06/06/22 Page 1 of 3 PageID 351




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


UNITED STATES OF AMERICA, et al.,

                             Plaintiffs,

ex rel. BEVERLY MARCUS,

                             Relator,              Case No. 8:18-cv-2915-WFJ-JSS

                v.

BIOTEK LABS, LLC, et al.,

                      Defendants.
_______________________________/

            UNOPPOSED MOTION FOR WITHDRAWAL OF FORMER AUSA

           Pursuant to Local Rule 2.02(c), the United States moves for W. Stephen

 Muldrow, formerly an Assistant United States Attorney for the Middle District of

 Florida, 1 to be withdrawn as counsel of record for the United States in this matter,

 to be removed from the Court’s docket and the service list of other counsel and

 parties in this matter, and to no longer receive CM/ECF notices or other Notices

 or Orders from the Court in this matter.

           The undersigned Assistant United States Attorney has previously appeared

 in this action, will remain as counsel of record for the United States herein, and, if



       1
        The Honorable Mr. Muldrow now serves as the U.S. Attorney for the District of Puerto
Rico. See https://www.justice.gov/usao-pr/meet-us-attorney



                                               1
Case 8:18-cv-02915-WFJ-JSS Document 53 Filed 06/06/22 Page 2 of 3 PageID 352




 not already, should be listed as lead counsel for the United States.

       The undersigned Assistant United States Attorney certifies that he has

 notified the United States, which consents to this withdrawal. The undersigned has

 also conferred with counsel for Relator and counsel for Defendants, respectively,

 who do not oppose the relief requested herein.

                                         ROGER B. HANDBERG
                                         United States Attorney

June 6, 2022                          By: /s Charles T. Harden III
                                         CHARLES T. HARDEN III
                                         Assistant United States Attorney
                                         Florida Bar No. 97934
                                         400 North Tampa Street, Suite 3200
                                         Tampa, Florida 33602
                                         Tel: (813) 274-6000
                                         Fax: (813) 274-6200
                                         Email: Charles.Harden@usdoj.gov
                                         Counsel for the United States


               CERTIFICATE UNDER LOCAL RULE 2.02(c)(1)(B)(i)


      I HEREBY CERTIFY that that I have notified the United States, which

consents to the withdrawal of counsel requested herein.



                  CERTIFICATE UNDER LOCAL RULE 3.01(g)


      I HEREBY CERTIFY that I have conferred with counsel for Relator and also

with counsel for Defendants, each of whom stated their respective clients do not

oppose the relief requested herein.



                                           2
Case 8:18-cv-02915-WFJ-JSS Document 53 Filed 06/06/22 Page 3 of 3 PageID 353




                          CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that, on June 6, 2022, I filed the foregoing document

using the CM/ECF system, which will send notice of electronic filing to all counsel

of record.


                                       By:   /s Charles T. Harden III
                                             CHARLES T. HARDEN III
                                             Assistant United States Attorney




                                         3
